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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - FLINT
IN RE:
                                                     CASE NO. 12-33264-dof
CHRISTOPHER D. WYMAN,                                CHAPTER 7
                                                     HONORABLE DANIEL S. OPPERMAN
            DEBTOR,
_________________________________/

Samuel D. Sweet, Trustee,                            Adversary No. 19-03018-dof
             Plaintiff,
v

Barbara Duggan,
             Defendant.
_________________________________/

              ANSWER TO AFFIRMATIVE DEFENSES AND COUNTER-CLAIM

         NOW COMES Plaintiff/Trustee, Samuel D. Sweet, by and through his counsel, Samuel
D. Sweet, PLC, and hereby in answer relative to the affirmative defenses of the
Defendant/Counter-Plaintiff hereby states as follows:
         1.     Neither admit nor deny as the statement contains a legal conclusion.
         2.     Neither admit nor deny as the statement contains a legal conclusion.
         3.     Neither admit nor deny as the statement contains a legal conclusion.
         4.     Neither admit nor deny as the statement contains a legal conclusion.
         5.     Neither admit nor deny as the statement contains a legal conclusion.
         6.     Neither admit nor deny as the statement contains a legal conclusion.
         7.     Neither admit nor deny as the statement contains a legal conclusion.
         8.     Neither admit nor deny as the statement contains a legal conclusion.


                                   COUNTER COMPLAINT
         NOW COMES Counter-Defendant/Trustee, Samuel D. Sweet, by and through his
counsel, Samuel D. Sweet, PLC, and hereby in answer relative to the counter complaint of the
Defendant/Counter-Plaintiff states as follows:
         1.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
         2.     Neither admit nor deny as the statement requires a legal conclusion.



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       3.     Neither admit nor deny as the statement requires a legal conclusion.
       4.     Neither admit nor deny as the statement requires a legal conclusion.


                         COUNT I: DECLARATORY JUDGMENT
       5.     Admit.
       6.     Admit as the statute speaks for itself.
       7.     Neither admit nor deny as the statute speaks for itself.
       8.     Admit as the statute speaks for itself.
       9.     Neither admit nor deny as the statement requires a legal conclusion.
       10.    Neither admit nor deny as the statement requires a legal conclusion.


       WHEREFORE, Counter-Defendant/Trustee respectfully requests this Honorable Court
deny the requested Counter Claim and dismiss said claim forthwith.


               COUNT II: BREACH OF FIDUCIARY DUTY AND WASTE
       11.    Admit.
       12.    Admit.
       13.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       14.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       15.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       16.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       17.    Admit.
       18.    Denied as the Trustee had no ability to liquidate the property until an Adversary
              Proceeding was resolved in which the estate had sued Michelle Pichler who was
              actually the owner of record of said property.
       19.    Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       20.    Neither admit nor deny as the testimony of Trustee Sweet speaks for itself.
       21.    Denied.
       22.    Denied.
       23.    Denied.




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       WHEREFORE, Plaintiff/Trustee respectfully requests this Honorable Court deny the
requested relief by the Defendant/Counter-Plaintiff and dismiss said claim forthwith.
                         COUNT III: ABANDONMENT 11 USC 554(b)
       24.     Admit.
       25.     Admit.
       26.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       27.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       28.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       29.     Neither admit nor deny and leaves Counter-Plaintiff to its proofs.
       30.     Neither admit nor deny as the statute speaks for itself.
       31.     Neither admit nor deny as the statement requires a legal conclusion.
       32.     Neither admit nor deny as the statement requires a legal conclusion.
       33.     Neither admit nor deny as the statement requires a legal conclusion.
       34.     Denied.
       35.     Denied.
       WHEREFORE, Plaintiff/Trustee prays this Honorable Court deny and dismiss this
Counter Claim by the Plaintiff forthwith.



                                              Respectfully submitted,

                                              SAMUEL D. SWEET, PLC

                                              By: /s/ Samuel D. Sweet
                                              Samuel D. Sweet (P48668)
                                              Attorneys for Trustee
                                              P.O. Box 757
                                              Ortonville, MI 48462-0757
Dated: 4/9/2019                               (248) 236-0985
                                              ssweet@trusteesweet.us




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - FLINT

IN RE:
                                                     CASE NO. 12-33264-dof
CHRISTOPHER D. WYMAN,                                CHAPTER 7
                                                     HONORABLE DANIEL S. OPPERMAN
            DEBTOR,
_________________________________/

Samuel D. Sweet, Trustee,                            Adversary No. 19-03018-dof
             Plaintiff,
v

Barbara Duggan,
             Defendant.
_________________________________/

                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the following:

         Answer to Affirmative Defenses and Counter Claim

was electronically served on the 9th day of April, 2019, upon:

         Dennis L. Perkins                           Elie Bejjani
         Attorney for Debtor                         Attorney for Barbara Duggan
         bkperk@sbcglobal.net                        elie@bejjanilaw.com
         (Via ECF Only)                              (Via ECF Only)

was served via First Class Mail, pre-paid postage, on this 9th day of April, 2019, addressed as
follows:

         Christopher D. Wyman                        Michael E. Tindall
         6241 Grand River Road                       18530 Mack Ave., Ste. 430
         Brighton, MI 48114                          Detroit, Michigan 48236



                                              /s/ Jessica A. Will
                                             SAMUEL D. SWEET, PLC
                                             Jessica A. Will, Legal Assistant
                                             P.O. Box 757
                                             Ortonville, MI 48462-0757
                                             (248) 236-0985
                                             jwill@trusteesweet.us

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 1                         UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
 2                               SOUTHERN DIVISION

 3   IN THE MATTER OF,                        Case No. 12-32264

 4   CHRISTOPHER D. WYMAN
     ___________________________/
 5
     MICHAEL A. MASON, TRUSTEE                Adversary No. 12-3347
 6   and BARBARA DUGGAN,                      Flint, Michigan
                                              February 10, 2015
 7          Plaintiffs,                       10:37 a.m.
                                              Appeal No. 16-2535
 8                v

 9   CHRISTOPHER D. WYMAN and
     DIANA KAYE GENTRY,
10
          Defendants.
11   ___________________________/

12                               IN RE: TRIAL
                    BEFORE THE HONORABLE DANIEL S. OPPERMAN
13               TRANSCRIPT ORDERED BY: MICHAEL TINDALL, ESQ.

14   APPEARANCES:

15   For the Plaintiffs:                      MICHAEL E. TINDALL, ESQ.
                                              (P29090)
16                                            Tindall Law
                                              P.O. Box 46546
17                                            Mt. Clemens, MI 48046
                                              248-250-8819
18
     For the Defendants:                      RICHARD PONSETTO, JR., ESQ.
19                                            (P38905)
                                              2425 S. Linden Road
20                                            Suite C
                                              Flint, MI 48532
21                                            810-720-4333

22   Chapter 7 Trustee:                       SAMUEL SWEET, ESQ. (P48668)
                                              Chapter 7 Trustee
23                                            P.O. Box 757
                                              Ortonville, MI 48462-0757
24                                            248-236-0985

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 1                  THE CLERK:     Thank you.     Have a seat right there.

 2                                 DIRECT EXAMINATION

 3    BY MR. TINDALL:

 4    Q     Would you state your name for the record, please?

 5    A                       Sweet
            My name is Samuel Sweet.

 6    Q     And what is your relation to this case?

 7    A     I have been appointed to be the Chapter 7 trustee of this

 8    -- the underlying case which is Christopher Wyman’s case.

 9    Q     And you are the successor to Mr. Mason, is that correct?

10    A     That’s correct.

11    Q     When did you become his successor?

12    A     I believe it was roughly August of this past year.

13    Q     You had occasion to be in Court in September and I

14    believe October, was that right?

15    A     That’s correct.

16    Q     Okay.     And at that point there were arguments going on

17    about this property that Mr. Mason recovered from Mr. Linck,

18    is that correct?

19                  MR. PONSETTO:     Objection, Your Honor, which property

20    are we talking about?

21                  MR. TINDALL:     The equipment.

22    A     There -- there was discussion about a list of equipment

23    that -- that was at issue.

24    Q     Okay.     And the Court asked -- do you recall what the

25 Court asked the parties to do at that time?
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 1    A      I think if I’m not mistaken the Court said figure out

 2    what you want to do with this equipment as it pertains to this

 3    adversary and -- and let me know basically
                                       basically.

 4    Q      And you told the Court you needed to inspect it, did you

 5    not?

 6    A      That’s true, yes.

 7    Q      Okay.     And the Court -- did the Court indicate that the

 8    parties should allow you to inspect this property?

 9    A      I -- I believe that’s what the Court in some form or

10    fashion, that’s what the Court said.

11    Q      And how many times in that -- since that time have you

12    requested to see the property and know its location?

13    A      I’ve spoken with Mr. Ponsetto a few times over the course

14    of the last few months about looking at the property.

15    Q      Has he cooperated with you in making that happen?

16    A      Mr. Ponsetto sent me an email I think it was Friday of -–

17    the Friday before the original trial date which would have

18    been sometime January 30th maybe, 29th.            I forget.     I’m not sure

19    what that Friday date was.

20    Q      Uh-huh.

21    A      Indicating that a few pieces of the equipment was at Ms.

22    Gentry’s home and the other equipment on the list was at

23    various other locations and that I should contact them and

24    figure out how to get -- how to get access to them.

25 Q      Did he tell you specifically what those locations were?
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                              Sweet - Direct                        PAGE       61

 1    A     No, huh-uh.

 2    Q     Okay.     So as we sit here today, you still do not know

 3    where all these various pieces of equipment are?

 4    A     That’s correct.       I know that they have indicated that

 5    four pieces of the equipmenbt are at I believe it’s Ms.

 6    Gentry’s home if I’m not mistaken.            It might be a commercial

 7    piece of property that she owned, I -– either a home or a

 8    commercial -– under her control I guess I would say.

 9    Q     Okay.     And this is after how many requests?

10    A     I spoke to Mr. Ponsetto several times about this, about

11    trying to get a look at this.

12    Q     Did you speak to anyone else in addition to Mr. Ponsetto?

13    A     I spoke to Mr. Toll when we originally, I believe it was

14    at the hearings because I assumed he would be able to have

15    some access to it, but I’m not sure that he did.

16    Q     Uh-huh.

17    A     So -- so really they’re the only two that I’ve spoken to

18    about it.

19    Q     That was the one time.         And the debtor has not contacted

20    you, neither has Mr. Perkins to inform you where the property

21    is?

22    A     No, they have not.

23    Q     Okay.     Now have you reviewed Mr. Wyman’s bankruptcy

24    petition?

25 A      I have, yes.
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                          Sweet - Direct/Cross                      PAGE       62

 1    Q     And is this the property that he listed as being in his

 2    possession on the date of filing the petition?

 3    A     I believe it’s the same property, yes.              There’s equipment

 4    that he had in his possession on the date of filing.

 5    Q     And have you reviewed his testimony at the 341 and 2004

 6    exams?

 7    A     I have reviewed a 2004 transcript.             I don’t recall the

 8    341 transcript, although I have some discussion with the prior

 9    trustee about those issues.

10    Q     Okay.     Is it your understanding that this is what was

11    commonly referred to as Mr. Linck’s property on his petition?

12    A     I think that’s what everyone has called it is Mr. Linck’s

13    property.

14                  MR. TINDALL:     Thank you, Your Honor.         That’s all.

15                  THE COURT:     Thank you.     Mr. Ponsetto, cross

16    examination.

17                                 CROSS EXAMINATION

18    BY MR. PONSETTO:

19    Q     Mr. Sweet, we have had a couple of discussions about this

20    equipment, right?

21    A     Correct.

22    Q     All right.      And I have told you that the vast majority of

23    the equipment is junk and asked you if you wanted to see the

24    junk, isn’t that true?

25 A      We have discussed that, yes.
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                               Sweet - Cross                        PAGE       63

 1    Q      All right.

 2    A      You indicated I think that -- I think --

 3    Q      And isn’t it true --

 4    A      Well, I think you told -- can I answer the question or

 5    not?

 6                   THE COURT:   I think I’d like to hear the answer from

 7    Mr. Sweet.       So go ahead, Mr. Sweet.

 8    A      I think you specifically told me that you believed this

 9    equipment to be of very little value.             And that it’s spread

10    out at various job sites and fields, all over the place

11    basically is what I think you told me.
                                         me

12    Q      Right.     And then did I also tell you why a bunch of this

13    stuff was moved away from a house that Mr. Tindall was in the

14    process of seizing and trying to seize other things?

15    A      Did you tell me why it was moved?

16    Q      Yeah.

17    A      I think you did mention that there was some moving of the

18    equipment so that Mr. Tindall wouldn’t take possession of the

19    equipment if I’m not mistaken.           I think that’s what -- I think

20    that’s what you told me.          They moved it from the house that

21    Mr. Tindall was taking possession of to some other location.

22    Q      And Mr. Tindall knew of it?

23    A      Pardon me?

24    Q      And it was allowed?

25 A      I’m -- I don’t -- I wasn’t in the case at that time so
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                               Sweet - Cross                        PAGE       64

 1    I’m really not sure what transpired there.               But I –- you had

 2    mentioned to me --

 3    Q     All right.      So -– so you’re kind of speculating.

 4    A     I’m speculating based on what you told me, yes.

 5    Q     All right.      And based on -- but based on what I have told

 6    you, you were interested in four specific pieces of equipment?

 7    A     They seemed to be the pieces of equipment that I would

 8    have assumed had the greatest value, yes.               They -– they seemed

 9    to be the lion’s share of what I would consider to be the

10    value of the equipment.

11    Q     A backhoe?

12    A     There was a backhoe, a bulldozer, some type of excavator,

13    and some other machine.         I forget what the exact items were.

14    But there was -- there was four pieces that seemed to be the

15    largest of the -- from the list.

16    Q     And then the rest of them are things like batteries and

17    saws, and --

18    A     They did seem to be a list of things that had a, I guess,

19    what I would consider to be a lesser value and things that

20    probably had a tendency to depreciate much quicker than the

21                                       pieces.
      machinery that -- the list of four pieces

22    Q     Have I ever told you that you couldn’t look at any of

23    this stuff?

24    A     You’ve never told me that, no.

25 Q      As a matter of fact, the Friday before February 2nd, we
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                               Sweet - Cross                        PAGE       65

 1    made sure that you had the address of the four major pieces of

 2    equipment that you wanted to know where they were, right?

 3    A       You -- you did -– you sent me an email, I think it was

 4    Friday afternoon and then said these are the four pieces that

 5    we have –- I don’t have it in front of me, I’m just –- I’m

 6    trying to paraphrase what they even said.

 7    Q       Trying to -- and --

 8    A       These are the four pieces that we talked about.               I don’t

 9    recall there being an exact address, but there could have

10    been.

11    Q       Right.   I’m pretty sure I did.

12    A       There may have -- there may have been.            And, you know,

13    these are it.      You know, let us know when you want to see

14    them.     You know, the difficulty I had was that was Friday

15    afternoon, the trial was Monday morning.              You know, I wasn’t

16    sure did you mean you wanted me to review them before the

17    trial.     I guess I was kind of -– and I don’t think I even got

18    the email honestly until the next day because I think it came

19    late in the day if I’m not mistaken, so --

20    Q       That we want to cooperate and you’re getting that

21    impression, aren’t you?

22    A       I’m getting the impression you sent me an email on Friday

23    afternoon before a Monday morning trial that said these are

24    the pieces of equipment.          I mean --

25 Q      And that trial there was a snow storm and it’s been
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                               Sweet - Cross                        PAGE       66

 1    adjourned and there’s been --

 2    A     Correct.

 3    Q     –- an additional week.         And --

 4    A     Correct.

 5    Q     And -- and I think we should look at these.

 6    A     One of the difficulties I have is, I have a whole list of

 7    equipment.     And you’ve indicated there’s four pieces that are

 8    what you believe, and I tend to agree, although I haven’t seen

 9    any of this, that that is the lion’s share of the -- the

10    asset.

11          Part of the difficulty is, there is property, I’m getting

12    the sense, and I think you’ve specifically told me all over

13    the place in different people’s property, at job sites.                   That

14    has a tendency to be fairly difficult to go to people’s

15    property and say show me this equipment because I’ve done that

16    in the past and sometimes you get a gun pointed at you.                   And I

17    am not excited over this equipment to get a gun pointed at me

18    by going on to someone’s property.

19    Q     And then that’s why Diana volunteered to go with you,

20    correct?

21    A     She did.     She did.     I think it was in your email you said

22    we can show you this other equipment that’s not specifically

23    at I thought it was her house, but I -- like I said, I could

24    be wrong.     So I guess I’m not -– is there more you want me to

25 talk about on that issue?
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                              Sweet - Redirect                      PAGE       67

 1                  MR. PONSETTO:     Judge, I have no further questions.

 2                  THE COURT:     Thank you, Mr. Ponsetto.         Mr. Tindall,

 3    redirect.

 4                  MR. TINDALL:     Sure, I do.

 5                               REDIRECT EXAMINATION

 6    BY MR. TINDALL:

 7    Q     Have you formed a final conclusion that these four pieces

 8    are the only ones that have any value?

 9    A     No.     I’ve formed no conclusions because I haven’t seen

10    any of it yet.

11    Q     So you need to see all of the equipment in order to

12    determine whether or not your preliminary thoughts on value

13    are accurate?

14    A     Yeah.     I mean it -- there’s a -- there’s a fairly

15    substantial list of equipment.           Some with greater value, some

16    with lesser value, so --

17    Q     What about the vehicle?

18    A     That was on the list of equipment, you mean?                Is that

19    what you’re referring to?

20    Q     I believe it’s a Chevy SUV and I forget the year,

21    probably ‘08.

22                  MR. PONSETTO:     Objection, Your Honor, relevance.

23    This is somebody else’s vehicle.            My client has no control

24    over somebody else’s vehicle.

25                MR. TINDALL: This is the vehicle that was
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                              Sweet - Redirect                      PAGE       68

 1    transferred by Mr. Linck without payment that Mr. Wyman

 2    testified he left at Ms. Gentry’s home.

 3                    THE COURT:   The Court overrules the objection and

 4    allows the answer.

 5    A       I have not seen that vehicle either.

 6    Q       Okay.     And so if I understand your testimony correctly

 7    for five months -- I’m sorry, four months, October, November,

 8    December, and January, you made repeated requests to be

 9    allowed to inspect this property and be told where it was and

10    heard nothing until late Friday afternoon before the trial

11    date?

12    A       Well, I had many discussions with Mr. Ponsetto about --

13    see, I do 341's every Thursday and he’s there pretty much

14    every week.

15    Q       Uh-huh.

16    A       We talked about this case several times.

17    Q       Uh-huh.

18    A       That was an issue, the equipment.           I never got a formal

19    offer hey, here’s the equipment, come and look at it until the

20                        started.
      Friday before trial started

21    Q       Okay.     Now when -- you said you spoke with Mr. Mason?

22    A       Yes.

23    Q       I don’t know whether it was before or after you took

24    over?

25 A      I believe it was -- I believe it was after. after   I believe I
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                              Sweet - Redirect                      PAGE       69

 1    just got a notice that you are the new trustee of this case.

 2    And once I got that I called Mr. Mason and said hey, what’s --

 3    what’s going on with this case.

 4    Q       Did he tell you who I am?

 5    A       He did mention your name, yes.

 6    Q       And who did he tell you I was?

 7    A       He said you were an attorney that had been retained to

 8    prosecute some adversary proceedings that were pending in the

 9    Court.

10    Q       I was his attorney?

11    A       That’s correct.     Or the estate’s --

12    Q       So I was acting on his behalf?

13    A       The estate’s attorney, yes, uh-huh.

14    Q       And so Mr. Ponsetto told you that these people moved this

15    equipment away from the debtor’s then residence where he’s

16    occupying and where he identified it was on the petition in

17    order to avoid my seizing it on behalf of the trustee?

18    A       I don’t know if it was on behalf of the trustee or what

19    -- I don’t know what the whole -- all the ramifications.                      But

20    I understand you represent a creditor and the estate in the

21    case.     So I don’t know what the whole gist of what he was

22    getting at.      He did indicate they -- they moved it because

23    they were concerned that you were going to take possession of

24    it.
      it

25 Q      Okay. And did he tell that we had attempted to seize the
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                              Sweet - Recross                       PAGE       70

 1    house as well?

 2    A      He
              e indicated that you were attempting to seize the house

 3    that there was some dispute as to whether you could do that.

 4    But yeah, he -- he mentioned it to me.              I think Mr. Mason

 5    mentioned it to me as well.

 6    Q      And whose benefit -- whose behalf was I seizing the house

 7    for?

 8    A                                         assuming
             Well, it would be the estate’s I’m assuming.

 9                 MR. TINDALL:      Thank you.

10                 THE COURT:     Mr. Ponsetto, further questions?

11                 MR. PONSETTO:      Yes.

12                                RECROSS EXAMINATION

13    BY MR. PONSETTO:

14    Q      Mr. Sweet, when did you first ask me if I could see the

15    property?

16    A      I’m not sure the exact date.          We talked about it a number

17    of times about going to see the property.

18    Q      And I volunteered, right?         I volunteered to -- I

19    volunteered to let you go see it.            I brought this up, right?

20    A      You sent me an email that said hey, this is where the

21    property is at.       I don’t recall an exact address, but you’ve

22    indicated it’s there, I have no reason to believe that you’re

23    not accurate.      These are four pieces, the rest of it is

24    scattered around in different places.             Let us know --

25 Q      But before that during these 341's when we were talking,
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                              Sweet - Recross                       PAGE       71

 1    when was the first time you said, I want to see these four

 2    pieces of equipment and then when you said that did I say no?

 3    A     You never told me no, I couldn’t see it.               I mean we

 4    talked about it and discussed the equipment and what it was.

 5    You indicated always that you thought it had very de minimis

 6    value of the age and it had been used
                                       used.

 7    Q     Some of it was broken?

 8    A     Some of it was broken.

 9    Q     Needed repairs.

10    A     Some if it was broke down.           It was in fields, it was not

11    –- you know, I think if I’m not mistaken you thought it was

12    scrap value most of the -- the iron I’ll call it, the iron

13    equipment like the bulldozers and things of that nature.                      I

14    mean you never told me no, I can’t see the equipment.

15    Q     And then the stuff that was over at the house, are you

16    aware that those things were titled in the name of a

17    corporation?

18    A     These are the -- when you say these things, you mean the

19    pieces of equipment?

20    Q     The -- whatever was over at the house that Mr. Tindall

21                                         stuff.
      seized and was trying to seize other stuff

22    A     Well, as I understand it these are not items that would

23    be titled.     They’re items that may have bills of sale that

24              them.
      relate to them        I don’t know that they’re titled to anyone to

25 be honest with you.
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                              Sweet - Recross                       PAGE       72

 1    Q     You haven’t done a Secretary of State search?

 2    A     Oh, we did, yeah.        They’re not -- I mean it’s not --

 3    these aren’t titled items.          A bulldozer is not a titled item.

 4    You don’t get a title for a bulldozer, or a backhoe, or --

 5    they’re not a vehicle, they’re not things on the -- on the

 6    road like a boat or a trailer, those kind of things.

 7    Q     So the issue of who they belong to, would still be a

 8    valid issue?

 9    A     Could very well be, sure.

10    Q     All right.      Bottom line -- but the bottom line is, is

11    that we have never denied you access?

12    A     You’ve never told me no, you can’t look at it, although

13    there’s been some difficulty of where exactly it’s at.

14    Because it’s spread out all over the place.

15    Q     Well, there’s going to be some testimony on that.                 It

16    wasn’t spread out all over the place as Mr. Tindall said.

17    A     That’s what you told me is it was spread out in various

18    locations.                                      times.
                     I think you told me that several times

19    Q     It is.

20    A     So that’s what I’m saying.           So I don’t care what other

21    testimony there is, that’s what you told me and I -– I tend to

22    think that’s accurate.

23    Q     All right.

24    A     Right.

25 Q      But you can’t -– you can’t expound on it further that
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                              Sweet - Recross                       PAGE       73

 1    it’s spread all over the place to hide it?

 2    A     Well, I think I’ve said where is it and you’ve said well,

 3    it’s all over the place, it’s in different locations and it’s

 4    movable equipment, so it’s -- it sounded to me like it was

 5    equipment that was used on job sites.             That one day it might

 6    be in one location, the next day it might be in a different

 7    location.     So it was very difficult to determine on any given

 8    day exactly where everything is at.

 9    Q     But we’ve never said you can’t look at it?

10    A     No, you never told me that, huh-uh.

11                 MR. PONSETTO:      All right.      Thank you.

12                 THE COURT:     Mr. Tindall, any further questions?

13                 MR. TINDALL:      No, Your Honor.

14                 THE COURT:     Mr. Sweet, how long do you need to look

15    at all this equipment, or at least the equipment you think is

16    worth looking at?

17    A     Well, I’d like to think I could do it all in one day.

18    One of the difficult parts is, I’m not 100% sure where it’s

19    at.   I -- I think I’ve been given the indication that there’s

20    certain pieces at one location.            I don’t -– I don’t know where

21    the rest of it’s at.

22          I guess if -- and I don’t know if I have access to it at

23    whatever location it’s in.          I don’t know if it’s indoors,

24    outdoors.     It might be in someone’s barn.            It might be in a

25 building. It might be sitting out in a field. I guess I just
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                                                                    PAGE       74

 1    don’t -- I don’t know.

 2          It sounds like it’s geographically fairly close to one

 3    location within a few miles.           But then again I –- I don’t

 4    know. I’d like to think I could do it in one day.

 5                 MR. TINDALL:      Allow yourself two, they don’t shovel

 6    -- they don’t shovel the roads too well.

 7                 THE COURT:     And that’s assuming that you know right

 8    where everything is and then maybe someone escorts you from

 9    one spot to another in certain cases.

10    A     And that I have access to it when I get to the -- if it’s

11    way out in the middle of a field --

12                 THE COURT:     Right.

13    A     It might be difficult to go look at because of the snow.

14                 THE COURT:     Right.

15    A     Or if it’s indoors, it might be difficult unless someone

16    gives me access to the location.            But yeah, assuming I can --

17    I can go look at it, I -- I can’t imagine from a list I’ve

18    seen that it would take more than a few hours.

19                 THE COURT:     Fair enough.      Mr. Tindall, after the

20    questioning, line of questioning, anything further?

21                 MR. TINDALL:      No, Your Honor.

22                 THE COURT:     Mr. Ponsetto?

23                 MR. PONSETTO:      No, Judge.      Thank you.

24                 THE COURT:     Very good.      Mr. Sweet, I think you can

25 step down for the time being. I’m not too sure that your
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                                                                    PAGE       75

 1    testimony is complete though because it sounds like you need

 2    to look at this and find out what you think it’s worth.

 3          (WITNESS SAMUEL SWEET WAS EXCUSED AT 12:16 P.M.)

 4                 MR. SWEET:     I think that’s probably accurate.             I

 5    suspect if the Court sets another date, maybe between now and

 6    that date, I’ll --

 7                 THE COURT:     And that’s why I asked some of those

 8    questions.

 9                 MR. SWEET:     Right.

10                 THE COURT:     Because I want to know how long you’re

11    going to need.       And I know that it’s not like you’re going to

12    do it tomorrow or the next day and you come back next

13    Wednesday.

14                 MR. SWEET:     Sure, sure.

15                 THE COURT:     That’s not what we’re talking about,

16    but --

17                 MR. SWEET:     I can’t imagine, I mean if Mr.

18    Ponsetto’s offer is so good, I can’t imagine it not taking

19    more than a day to go look and be pointed out to where exactly

20    the stuff is at.

21                 THE COURT:     And is your schedule -- I guess you’re

22    probably still under oath.           But is your schedule such that you

23    can do it in the next month, or are you booked so solid that

24    you’re going to need three or four months to --

25                MR. SWEET: I can’t imagine this taking more than a
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 1    –- I’m probably thinking like a week.             I can probably find a

 2    day, assuming it works for --

 3                 THE COURT:     Right, everybody else.

 4                 MR. SWEET:     Everybody else.       And I would want to get

 5    pictures of the stuff and discuss it with my auctioneer

 6    because depending on where it’s at, it depends on how

 7                                   -
      expensive it is to move versus --

 8                 THE COURT:     Right.

 9                 MR. SWEET:     -– the cost at auction.          You know,

10    there’s some dynamics that go into determining the value of --

11    of the equipment.

12                 THE COURT:     Fair enough.      Thank you.

13                 MR. TINDALL:      It had been my intention, Your Honor,

14    to move for an order compelling that within a given period of

15    time whatever the Court found reasonable that they identify

16    the location of each piece of equipment and not just the four

17    they think are worth something.            All of it because the trustee

18    needs to determine for himself whether or not the property has

19    value and ordering that they allow him access to it.                  Because

20    obviously the suggestion that this could be worked out has not

21    panned out in four months.

22                 THE COURT:     Mr. Ponsetto, what about that?

23                 MR. PONSETTO:      You know what, it hasn’t worked out

24    for four months.       I’ve been involved in this case for three

25 years.       And in the past month this is the first time I’ve ever
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 1    had a serious conversation with anybody about valuation.

 2          So I’m tired of that.          I’m over it.     We’re going to move

 3    on.   But the bottom line is, is that I don’t have a problem

 4    and neither does my client showing them whatever they want to

 5    be shown.     She will volunteer to an order.            She doesn’t have

 6    to be compelled, nor does she want it to be an order

 7    compelling her to do it because that means something three

 8    steps down the road.

 9          She will volunteer to do it.           We need a list of what it

10    is they’re talking about.           There are four different lists of

11    what equipment we’re talking about.             You give me a list of an

12    equipment that you want to look at, Diana will give you an

13    address of all of them, even if it means that you have to go

14    to the dump because the saw got thrown away in 1999.

15          I don’t have a problem with it, but we will resolve it

16    one way or the other.         But I need a list.

17                 MR. TINDALL:      Your Honor, I have supplied – I’m

18    sorry, I didn’t meant to interrupt.             I have supplied Mr.

19    Ponsetto on at least four separate occasions with the entire

20    bill of sale including what Mr. Linck executed.                 Including the

21    descriptions of each piece of equipment.              Nobody should be in

22    any doubt about what it is we’re looking for.                The only doubt

23    is where is it and what’s it worth.

24                 MR. PONSETTO:      Judge, I don’t have a problem with

25 that.
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 1                 MR. TINDALL:      If he needs a fifth copy, I’ll give

 2    him a fifth copy.

 3                 MR. PONSETTO:      Judge, I don’t have a problem with

 4    that.    The bill of sale he’s talking about is the bill of sale

 5    from the bank to Diana back in 2006 when they transferred all

 6    this equipment to her.

 7                 MR. TINDALL:      No, I’m talking about --

 8                 MR. PONSETTO:      There is no bill of sale from Mr.

 9    Linck or to Mr. Linck.         And if that’s the bill of sale he’s

10    talking about, I need to see it.            If he’s talking about the

11    bill of sale from 2006, that has Crest Housing with a circle

12    in it, where the bank gave Diana that –- or gave the

13    corporations that stuff after taking it from Wyman, then we

14    have that list.       And that is the list that we will use.

15                 MR. TINDALL:      I am talking about the bill of sale

16    dated May 30th, I could be off, 2014 including Mr. Linck and

17    trustee Mason that has attachments to it that describe these

18    pieces of the property.

19                 MR. PONSETTO: I’ve never seen that, Judge.

20                 MR. TINDALL:      And some of those may very well be

21    those 2003 documents.

22                 MR. PONSETTO:      I’ve never seen that.

23                 MR. TINDALL:      And I have sent them to him at least

24    four times.      And I’ll produce the emails I sent each time I

25 sent them one.
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 1                 THE COURT:     Well, I’m not sure that’s needed.             I was

 2    looking to see if the bill of sale was actually attached to

 3    one of your pleadings, Mr. Tindall.             I can’t find it
                                                                   it.       Because

 4    I was just going to slap it right up on the wall like we’ve

 5    done it before.       So this is the bill of sale.

 6           But I certainly think it’s appropriate to have an order.

 7    One, to find exactly what the equipment is so that there’s no

 8    issue of what it may be.

 9                 MR. TINDALL:      I’ve attach the bill of sale and all

10    its exhibits to that order
                           order.

11                 THE COURT:                   right.
                                  Yeah, exactly right          And then you know,

12    Mr. Sweet needs to arrange some times to do that.                 And he’s a

13    busy enough man that he just can’t drop it all and do it

14    tomorrow or the next day.           So I want that done before I have

15    this case started again which gets us to the issue -– Ms.

16    McFarlane, we have March 10th?

17                 THE CLERK:     Yes.

18                 THE COURT:     March 10 is available.         Now I want to

19    clear that date before we go any further and that’s a Tuesday.

20                 MR. PONSETTO:      I’m sorry, Judge.        March 10th is the

21    next --

22                 THE COURT:     March 10th.     And that would be a full

23    day.

24                 MR. PONSETTO:      March 10 full day should be fine,

25 Judge.
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 1                 THE COURT:     Okay.     Mr. Tindall, what do you think?

 2    Do you need to look at some --

 3                 MR. TINDALL:      I know I have a number of proceedings

 4    in front of Judge Shapero and March 5th is one of them.                  I

 5    don’t know whether the 10th is, but I can -- I’m going to say

 6    right now it’s fine.

 7                 THE COURT:     I see.     Do you think the proceedings are

 8    in front of Judge Shapero?

 9                 MR. TINDALL:      Yes.

10                 THE COURT:     Okay.     Well, let’s see.

11                 MR. TINDALL:      I know March 5 there are summary

12    judgment motions up.

13                 THE COURT:     Fair enough.      Judge Shapero has a trial

14    on March 10, it’s Diehl v Lynch.

15                 MR. TINDALL:      Oh.

16                 THE COURT:     That’s not you?

17                 MR. TINDALL:      That is not me.

18                 THE COURT:     Okay.

19                 MR. TINDALL:      That’s fine.

20                 THE COURT:     Then it looks like, you know, like I

21    said, I’m looking at Judge Shapero’s calendar.

22                 MR. TINDALL:      Uh-huh.     I just know he’s moved it

23    around because opposing counsel is gone to Florida and then he

24    scheduled something else in April and just yesterday --

25                THE COURT: Uh-huh.
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 1                 MR. TINDALL:      He came out with a notice on something

 2    else and --

 3                 THE COURT:     Well, as it stands right now it doesn’t

 4    look like that’s your trial, Mr. --

 5                 MR. TINDALL:      It’s not the 10th, so, that’s okay.

 6    Then I’m fine.

 7                 THE COURT:     March 10.      And Mr. Sweet, does that give

 8    you enough time to –- assuming that Mr. Tindall gets the list

 9    to Mr. Ponsetto and they can figure out what those items are

10    and that should give you enough time to go out there and take

11    a look at what you want to look at?

12                 MR. SWEET:     I think so, sure.

13                 THE COURT:     Very good.      Well, that will be the

14    adjourned date then, March 10 at 9:30.              And if need be, if

15    someone needs to file a report with the Court saying that they

16    have tried to look at this equipment and it’s not been made

17    available, or if they’ve tried a number of times to set

18    meetings and you know, the trustee’s not been available, I’d

19    like to know that.        But I’m assuming that when we come back

20    next month this equipment will all be reviewed by Mr. Sweet so

21    we can have a better idea what he’s trying to do.

22                 MR. PONSETTO:      Judge, Diana has brought up a good

23    point.    There are four lists of equipment.             All of them deal

24    with different points during this matter.

25                THE COURT: Uh-huh.
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 1                 MR. PONSETTO:      The equipment that is -- that is at

 2    issue is the equipment that Linck purchased from Diana.                   So

 3    the only list that matters is the list of equipment that was

 4    purchased by Linck.

 5          That’s the only list that matters.             Any lists from

 6    specifically the 2006, I think it is, transfer from the bank

 7    to Crest Housing.       That -- that has nothing to do with this.

 8          If -- if there is a list that is in existence, I mean and

 9    it should be, I mean the whole purpose of Linck purchasing it

10    would be reduced to writing and then the transfer back.                   That

11    -- that should be a writing somewhere.

12          But that begs the question as to whether or not Linck

13    ever had ownership to transfer.            And if Linck never had

14    ownership to transfer, then what are we talking about.

15          So there’s got to be a list of the equipment that Linck

16    allegedly purchased and allegedly got -- was gotten back by

17    Diana.    And that’s the only list that counts.

18                 MR. TINDALL:      And those -- those are the lists that

19    were attached to the bill of sale and they are copies of

20    previous years documents from 2003, 2006, and I forget when

21    the
        e other ones were as well as the title to the vehicle that

22    belonged to Ms. –- well, it was transferred to Mr. Wyman but

23    for which he didn’t pay which therefore is Mr. Linck’s.

24          Those were all attachments to the bill of sale.                 They

25 clearly set forth all the equipment that Mr. Linck believed
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 1    and were his.      That the bankruptcy petition seemed to confirm

 2    were his.     That his testimony and Mr. Wyman’s seemed to

 3    confirm were his.       And so they were all attached to the bill

 4    of sale.     There is no different list than those which

 5    obviously were attached to the bill of sale.               That’s how we

 6    incorporated them.

 7                 MR. PONSETTO:      And then who attached those to the

 8    bill of sale, Mr. Linck, or you?

 9                 MR. TINDALL:      Mr. Linck’s attorney and I both.               Mr.

10    Linck signed them with them attached.             They were exhibits to

11    the bill of sale at the time it was signed and conveyed over

12    as far as the settlement.

13                 MR. PONSETTO: Where is the bill of sale?

14                 MR. TINDALL:      As I said, you’ve got four copies of

15    it now.

16                 THE COURT:     All right.      Well, let’s do this.

17                 MR. TINDALL:      But I will attach it to the order I

18    submit.     Now do you want him to review the order, Judge, or do

19    you want me to just submit it?

20                 THE COURT:     No, I want you to give it to Mr.

21    Ponsetto to review.        And if there’s a problem with the bill of

22    sale, someone could give us a call.

23          And what I’m going to -- I’m just going to tell you

24    what’s going to happen.         If someone gives us a call and say we

25 can’t agree on the settlement of this order, I’m going to ask
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 1    Ms. McFarlane to set it for a telephonic hearing and I’m going

 2    to ask you, Mr. Tindall is submit what you think is the right

 3    order and the bill of sale.

 4                 MR. TINDALL:      Uh-huh.

 5                 THE COURT:     And Mr. Ponsetto, same rule for you.

 6    Proper order, bill of sale.          And that way I’ve got the

 7    plaintiff and I got the defendants’ version.               And I’ll get it

 8    flushed out one way or another.            And that way we’ll have an

 9    agreed order and I want this done so that Mr. Sweet doesn’t

10    get an email, you know, the Friday before this Tuesday trial

11    and say hey, by the way, I got all day Monday open and really

12    it’s too bad because that’s when your first meeting of

13    creditors are, Mr. Sweet.           That’s --

14                 MR. TINDALL:      Well, that’s fine, Judge.          What I’ll

15    do then is I’ll prepare the order, I’ll send it over to Mr.

16    Ponsetto to review and I will submit it with a seven day

17    notice.    And that way you’ll have from the --

18                 THE COURT:     Okay.

19                 MR. TINDALL:      -- jump to figure out when you have an

20    opening to deal with it if you have to.

21                 THE COURT:     Right.

22                 MR. PONSETTO:      And then if I have a problem, I’ll

23    file an objection and easy peasy.

24                 THE COURT:     But that’s probably just as –- yeah, if

25 you can’t agree on it, do the notice of presentment. Mr.
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 1    Tindall, the only thing I’m going to caution you on is we

 2    can’t have attachments to the order, so if you want to make it

 3    an exhibit and refer to the order as the exhibit, file it,

 4    whatever it is, that’s fine.

 5                 MR. TINDALL:      That’s what I would do, attach it to

 6    the notice.

 7                 THE COURT:     Yeah, they’re going to kick it back on

 8    you if you do it otherwise.

 9                 MR. TINDALL:      Yeah.

10                 THE COURT:     I’ve –- I’ve seen it happen too many

11    times, so --

12                 MR. TINDALL:      In fact I -- I -- I was going to say

13    but I won’t bother wasting the Court’s time to confirm it.                    I

14    believe this bill of sale was attached to the motion to hold

15    me in contempt.       So I believe that this bill of sale is

16    already on the record somewhere, but --

17                 THE COURT:     The motion to, I’m sorry, what?

18                 MR. TINDALL:      Motion to hold Mr. Wyman and Ms.

19    Gentry in contempt.

20                 THE COURT:     And would that be -- in what case would

21    that be?

22                 MR. TINDALL:      Well, that’s a good question, Judge.

23    I filed the case -- oh, motion and brief, there you go.                   I

24    filed the motion originally in the Pickler matter.                 Because

25 the order and the bill of sale emanated from the consent
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 1    judgment in the Pickler matter.

 2                 THE COURT:     Uh-huh.

 3                 MR. TINDALL:      Mr. Ponsetto and Mr. Perkins then

 4    filed responses in I think it was Mrs. Gentry’s bankruptcy

 5    case.     And Mr. Perkins may have done it in the adversary

 6    proceeding having to do with Mr. Wyman’s discharge.                  I don’t

 7    know.

 8            They seem to file them all over the place.             But let me --

 9    ah, let me see.       Exhibit 1 to that motion was a proposed

10    order, notice.       Number 4 certificate of service.            Exhibit

11    number -- ah, yes.        6-1 was the bill of sale but it did not

12    have -– oh, yes it did.         It had exhibits attached to the bill

13    of sale.

14                 THE COURT:     What -- what case and what docket

15    number, Mr. Tindall?

16                 MR. TINDALL:      This would be the Pickler case and --

17                 THE COURT:     I got that.

18                 MR. TINDALL:      As luck would have it, my version is

19    an original not the --

20                 THE COURT:     Well, about what date was it filed?

21                 MR. TINDALL:      July 31, 2014, motion and brief for

22    order of contempt against debtor, Christopher Wyman, Diana

23    Gentry to enforce the judgment of this Court.

24                 THE COURT:     Motion for contempt.         It’s taking a

25 little longer to download.
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 1                 MR. TINDALL:      Well, just for the record, 6-1 was the

 2    bill of sale itself, or Exhibit 6.

 3                 THE COURT:     Yeah.

 4                 MR. TINDALL:      Exhibit 6-1 was the page of the

 5    petition that described the equipment.              Then there was a copy

 6    of the certificate for a 2004 Chevrolet Silverado.                 There was

 7    a list of construction equipment constituting three, six,

 8    seven items.      Then there was a copy of the October 16 bill of

 9    sale.    And there was a copy of Mr. Linck’s check, along with

10    his deposition testimony as to what he bought or didn’t buy.

11                 THE COURT:     I’m still waiting.

12                 MR. TINDALL:      I will tell you that Mr. Ponsetto’s –-

13    one of Mr. Ponsetto’s responses was docket number 269 filed 12

14    days later, so it’s going to be in that neighborhood.

15                 THE COURT:     Well, here we go.        This is Exhibit 6,

16    that’s it.     Exhibit 6-1 is a bill of sale it looks like it.

17                 MR. TINDALL:      Exhibit 1 to that.

18                 THE COURT:     Yeah, then it says see attached, right?

19                 MR. TINDALL: Yes.

20                 THE COURT:     And then we go to Exhibit 1 which is --

21                 MR. TINDALL:      That’s the page of Wyman’s petition

22    that lists the equipment that he testified belonged to Mr.

23    Linck that was in his custody.

24                 THE COURT:     Okay.    And then we go --

25                MR. TINDALL: The vehicle --
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 1                 THE COURT:     You know what’s amazing?          Is the screen

 2    copy is better than the monitor copy.

 3                 MR. TINDALL:      Higher resolution.

 4                 THE COURT:     I don’t know.

 5                 MR. TINDALL:      That’s the construction equipment, all

 6    seven pieces of it.

 7                 THE COURT:     Now this is the bill of sale that Mr.

 8    Ponsetto was I think referencing earlier too.

 9                 MR. TINDALL:      Apparently according to Mr. Linck’s –-

10    that was included too as part of the equipment they were

11    selling.

12                 THE COURT:                                Ponsetto.
                                  So there’s a road map, Mr. Ponsetto

13                 MR. PONSETTO:      All right.      So it’s 12-03348 docket

14    243-6.

15                 MR. TINDALL:      Do you still want me to include

16    another copy of that with the order, Judge?

17                 THE COURT:     No, just reference it so that I can look

18    -- look it up.       You’re going to need it for your order anyway.

19    But I don’t need a copy because I -– I just needed the road

20    map.

21                 MR. TINDALL:      Uh-huh.

22                 THE COURT:     So there you go, Mr. Ponsetto.            That’s

23    where we’re starting.

24                 MR. PONSETTO:      Thank you, Judge.

25                THE COURT: You’re welcome. Anything more, Mr.
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 7    I certify that the foregoing is a correct transcript from the

 8    electronic sound recording of the proceedings in the

 9    above-entitled matter.

10

11    /s/Deborah L. Kremlick, CER-4872                    Dated: 5-30-16

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                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         CHRISTOPHER D. WYMAN,                                 Case No. 12-32264-dof
                                                               Chapter 7 Proceeding
            Debtor.                                            Hon. Daniel S. Opperman
_____________________________________/
MICHAEL A. MASON and
BARBARA DUGGAN,

         Plaintiffs,

v.                                                             Adversary Proceeding
                                                               Case No. 12-3347-dof
DIANA KAYE GENTRY,

      Defendant.
_____________________________________/

                ORDER REGARDING INSPECTION OF PERSONAL PROPERTY

         This matter having come before this Court for trial on February 10, 2015, and after

consideration of the testimony of Trustee Sweet regarding the location of the equipment, machinery

and vehicle(s) described in the attachments to the Bill of Sale, DE 243-6, Case No. 12-3348,

attached as Exhibit 1, andd the need to inspect this property by the Trustee; and the Court being fully

advised in the premises;

         IT IS HEREBY ORDERED that the Defendant, the Debtor, their agents, attorneys,

employees, successors and assigns shall disclose the exact location of and/or account for each item

listed in the attachments to the Bill of Sale within three (3) days of the date of entry of this Order;




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       IT IS FURTHER ORDERED that the equipment, machinery, vehicle(s), or other property

described in the attachments to the Bill of Sale shall not be moved without written notice to the

Trustee;

       IT IS FURTHER ORDERED that the Debtor and/or the Defendant shall make themselves

available to the Trustee on forty-eight (48) hours advanced notice to their respective attorneys at

such place and time as the Trustee shall designate to assist the Trustee in locating, inspecting, and

determining the value of each item described in the attachments to the Bill of Sale, which shall be

completed by March 10, 2015.
                                                  .



Signed on February 26, 2015
                                                        /s/ Daniel S. Opperman
                                                      Daniel S. Opperman
                                                      United States Bankruptcy Judge




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       SHARE                                                                                City, State, or Zip



       1011 E Jones Rd, Howell, MI 48855




1011 E Jones Rd,
Howell, MI 48855
4 beds ·b2 baths ·b2,808 sqft
                                                                                EST. REFI PAYMENT

                                                                                Est. Refi Payment:
                                                                                $1,367/mo



1011 E Jones Rd, Howell, MI is a single family home that contains 2,808 sq ft and was built in 1995. It contains 4
bedrooms and 2 bathrooms. This home last sold for $79,900 in May 2009.

The Zestimate for this house is $327,452, which has decreased by $16,044 in the last 30 days. T
                                                                                              The Rent Zestimate
for this home is $2,200/mo, which has decreased by $92/mo in the last 30 days. The tax assessment in 2018 was
$138,000.


Facts and Features
      Type                                    Year Built                               Heating
      Single Family                           1995                                     Forced air

      Cooling                                 Parking                                  Lot
      No Data                                 5 spaces                                 10.07 acres


INTERIOR FEATURES

Bedrooms                                                      Flooring
Beds: 4                                                       Floor size: 2,808 sqft

Heating and Cooling                                           Other Interior Features
Heating: Forced air                                           Fireplace

Basement
Partial basement
1 sqft basement


SPACES AND AMENITIES

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Home Value

                                                     Zestimate
                                                 $327,452
            ZESTIMATE RANGE                          LAST 30 DAY CHANGE                  ONE YEAR FORECAST
            $311,000 - $344,000                      -$16,044 (-4.7%)                    $339,240 (+3.6%)




Owner Dashboard




                          Do you own this home? See your Owner Dashboard.




Price / Tax History


 DATE              EVENT                     PRICE                        AGENTS

 05/28/09          Sold                      $79,900




Neighborhood: 48855
MEDIAN ZESTIMATE                       MARKET TEMPb


$248,800                               Warm




Zillow predicts will rise 2.3% next year, compared to a 2.3% increase for Howell as a whole. Among 48855 homes, this
home is valued 44.4% more than the midpoint (median) home, but is valued 12.1% less per square foot.

  Walk Score ® 0 (Car-Dependent)




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NEIGHBORHOOD MAP




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NEARBY HOMES




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Nearby Similar Sales
  SOLD: $231,000
Sold on 9/11/2018
3 beds, 2.0 baths, 1635 sqft
5788 Byron Rd, Howell, MI 48855


  SOLD: $240,000
Sold on 5/24/2018
3 beds, 2.0 baths, 1688 sqft
8001 Hemingway Rd, Howell, MI 48855


  SOLD: $252,000
Sold on 7/9/2018
3 beds, 3.0 baths, 2800 sqft
8525 Jonera Ln, Howell, MI 48855


  SOLD: $255,000
Sold on 10/10/2018
3 beds, 3.0 baths, 1745 sqft
6474 Byron Rd, Howell, MI 48855


  SOLD: $264,000
Sold on 10/3/2018
3 beds, 2.5 baths, 1781 sqft
8058 Hemingway Rd, Howell, MI 48855




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